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                    UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF NEW YORK




SECURITIES AND EXCHANGE COMMISSION,                :
                                                   :
               Plaintiff,                          :    19 Civ. 9439 (PKC)
                                                   :
               -against-                           :    ECF Case
                                                   :
TELEGRAM GROUP INC. and TON ISSUER INC.,           :    Electronically Filed
                                                   :
               Defendants.                         :
                                                   :




                                  Expert Report
                                        of
                             Carmen A. Taveras, Ph.D.

                               December 20, 2019




                            _______________________

                             Carmen A. Taveras, Ph.D.

                                Washington, D.C.



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    I.        Qualifications and Compensation

         1. I am a Financial Economist in the Division of Economic and Risk Analysis at the U.S.
            Securities and Exchange Commission (“SEC”).
         2. I joined the SEC in July 2014. Prior to joining the SEC, I was a principal at Securities
            Litigation and Consulting Group. I received a Ph.D. in Economics from the Massachusetts
            Institute of Technology, a Postgraduate Diploma in Macroeconomics from the Pontificia
            Universidad Católica in Chile, and a B.A. in Economics from the Pontificia Universidad
            Católica Madre y Maestra in the Dominican Republic. In addition, I taught graduate and
            undergraduate courses in economics at the Massachusetts Institute of Technology. My
            resume is attached as Appendix A. The resume includes a list of all publications authored
            and a list of all cases in which I testified as an expert at trial or by deposition in the last
            four years. A list of the materials that I have considered and relied upon in forming my
            opinions is attached as Appendix B.
         3. I receive an annual salary for the performance of my duties at the SEC. I have not been
            specially compensated for the preparation of my report nor is my salary in any way
            dependent upon the outcome of this case.

    II.       Assignment

         4. This case involves Telegram Group Inc. (“Telegram”) and TON Issuer Inc. (“TON
            Issuer”), two corporations incorporated in the British Virgin Islands. 1 TON Issuer is a
            wholly owned subsidiary of Telegram. 2 Pavel V. Durov serves as director to both Telegram
            and TON Issuer (collectively, “the Defendants”).

         5. In 2013, Pavel Durov and Dr. Nikolai V. Durov (together, “the Durovs”) founded and
            released Telegram Messenger (“Messenger”), a messaging application that allows users to
            send messages, photos, videos and files via chat to groups of up to 200,000 people. 3 The
            Durovs became interested in developing a blockchain that would integrate with their
            existing Messenger application and would be a faster and more scalable alternative to


1
  Form D, February 13, 2018, p.1. (See Appendix B for full references).
2
  Purchase Agreements for Grams (TG-001-00000020, TG-003-00000233).
3
  Messenger FAQ: https://telegram.org/faq#q-what-is-telegram-what-do-i-do-here. Telegram Pre-Sale
Primer, January 18, 2018, pp. 21-22.

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           existing cryptocurrencies, like Bitcoin and Ethereum. 4 By the end of 2017, the Defendants
           distributed promotional material for the sale of a new cryptocurrency, Telegram Open
           Network (“TON” or “TON Blockchain”) tokens called Grams, to prospective investors. 5
           The promotional material stated that an account called the “TON Reserve” would be set up
           to hold a portion of the original supply of Grams and that the TON Reserve could intervene
           in the market buying and selling Grams after the launch of the TON Blockchain to prevent
           sudden spikes and falls in the market price for Grams. 6 Between January and March 2018,
           the Defendants raised $1.7 billion in two rounds of a private placement offering of
           securities. 7 The Defendants committed to deliver Grams to the purchasers following the
           development and launch of the TON Blockchain. 8

      6. The Defendants’ promotional materials describing Grams included a formula for the
           “Reference Price” of Grams, which, among other things, set the the predetermined price at
           which Grams would be initially sold to investors. I have been asked to:

              a) Describe the Reference Price formula, in layman’s terms;

              b) Calculate the discounts received by Gram investors in the private placement with
                  respect to the expected Reference Price at the TON Blockchain launch; and

              c) Opine on whether the TON Reserve’s ability to buy and sell Grams can guarantee
                  price stability for Grams.

      7. I reserve the right to supplement my opinions if presented with new documents or data.


    III.    Summary of Opinions

      8. Based on my analysis, I find that:



4
  Telegram Pre-Sale Primer, January 18, 2018, pp. 3-4, 11.
5
  TON Two Page Teaser and TON Four Page Teaser.
6
  TON Technical White Paper distributed as Appendix A to the January 18, 2018 (TG-001-00000209—
10).
7
  Form D, February 13, 2018 and March 29, 2018.
8
  See Purchase Agreements for Grams (TG-001-00000024, TG-003-00000236). I refer to the individuals
and entities that entered into Purchase Agreements with the Defendants entitling them to receive Grams
as the “purchasers.”

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          a) The Reference Price of Grams is given by an exponential formula and is a function
              of the total number of Grams in circulation — each subsequent Gram is sold at at
              least one billionth of a dollar higher than the previous Gram;
          b) Gram investors received large discounts from the expected Reference Price at
              launch;
          c) The TON Reserve’s ability to buy and sell Grams pursuant to the Reference Price
              formula is not enough to guarantee stability in the market price of Grams.
 9. The remainder of my report provides support for my opinions.


IV.     Description of the Documents Reviewed

 10. In writing this report, I reviewed the Defendants’ Form D filings with the SEC, promotional
      material and other documents produced to investors in the private placement and
      Telegram’s memoranda to the SEC. I also obtained data on pricing history for
      cryptocurrencies from Bloomberg Finance, L.P. and CoinMarketCap. A full list of the
      documents I relied upon for my report is attached as Appendix B.


V.      The Reference Price of Grams Is Given by an Exponential Formula and Is a
        Function of the Total Number of Grams in Circulation — Each Subsequent Gram
        Is Sold at at Least One Billionth of a Dollar Higher than the Previous Gram
        A. Blockchain, Digital Token, and Initial Coin Offerings
 11. A blockchain is a digital distributed ledger of transactions, a database or list of entries that
      is shared and synchronized across multiple participants in a network of computers.
      Blockchain technology uses cryptography to enable the private transfer and storage of
      digital assets called tokens.
 12. An entity may issue tokens on a blockchain in an effort to raise capital in what is known
      as an Initial Coin Offering (“ICO”). From the point of view of investors, tokens can provide
      investment opportunities like those offered by stocks or other more traditional forms of
      securities.
 13. The Defendants raised capital through their sale of Grams to private placement purchasers
      in order to develop their TON Blockchain technology, among other specified uses.


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        Following the successful development and launch of the TON Blockchain, Defendants
        expect Grams to trade in the secondary open market, like other digital tokens. 9
          B. Description of the Reference Price Formula
     14. The original supply of Grams or total Grams in circulation is limited to 5 billion Grams.10
        The Defendants expect the supply to increase slowly at a rate of approximately 2% per
        year. The expected annual increase in supply will be used to reward blockchain validators,
        who are participants responsible for verifying blockchain transactions.
        The original sale price of Grams is set by what the Defendants call the “Reference Price”
        formula which is given as follows:
                                                ‫݌ = )݊(݌‬଴ ή ݁ ఈ௡                        (Eq. 1)

        where ‫݌‬଴ = $0.1 or 10 cents and ߙ = 10ିଽ .

     15. According to this formula, the price of the first Gram to be sold will be $0.10. The price of
        every subsequent Gram will be at least one billionth of a dollar higher than the price of the
        previous Gram. 11
     16. Exhibit 1 shows that the Reference Price ‫ )݊(݌‬increases when the number of Grams in
        circulation increases. Following the formula, the first Gram would be sold at $0.10, the
        second Gram would be sold at $0.1000000001, the third Gram would be sold at
        $0.1000000002, and so on. If each Gram sold is sold sequentially at a price set by the
        formula, the sale price of each Gram will be dependent on the timing of the sale. As an
        alternative, the Defendants allowed for the bulk sale of Grams during the initial distribution
        of Grams. 12 In these bulk sales, orders for buying Grams are collected over a period of time
        and processed at the same time. The total sum of dollars T needed to buy a certain number
        of Grams, ǻn, can be derived from Eq. 1. 13 All buyers in a bulk sale obtain their Grams at



9
  Telegram’s Second Supplemental Memorandum to the Staff of the SEC, February 27, 2018 [sic], p.14.
10
   This section summarizes sections of the TON Technical White Paper distributed as Appendix A to the
January 18, 2018 Primer (TG-001-00000207—11).
11
   The formula can be approximated as follows: ‫ )݊(݌‬ൎ 0.1 ή (1 + 10ିଽ )௡ , which is an equivalent way of
representing the Reference Price of the first Gram sold and every subsequent Gram sold thereafter.
12
   TON Technical White Paper distributed as Appendix A to the January 18, 2018 (TG-001-00000211).
13
   $IRUPXODGHULYHGIURP(TFDQEHXVHGWRFDOFXODWHWKHQXPEHURI*UDPVǻn, that can be purchased
with T dollars.

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        the same average price T/ǻn. The private placement offering of Grams was done in two
        rounds of bulk sales, as described in more detail in the next two paragraphs.
          C. Allocation of Grams
     17. The first round sales occurred between January 29 and February 13, 2018. 14 During this
        period, the Defendants raised $850 million (T) from the sale of approximately 2.25 billion
        Grams (ǻn) at a price of approximately $0.38 per Gram (T/ǻn, from the equation in the
        paragraph above). The exact price and number of grams are shown in Exhibit 2. The Grams
        sold in the first round had sale restrictions, also called lock-up periods, of up to 18 months
        after the TON Blockchain launch date. 15
     18. According to Telegram’s Form D, the second round sales occurred between March 14 and
        March 29, 2018. 16 During this period, the Defendants raised $850 million (T) from the sale
        of approximately 639 million Grams (ǻn) at a price of approximately $1.33 per Gram
        (T/ǻn). The exact price and number of grams are shown in Exhibit 2. The Grams sold in
        the second round could be sold after the TON Blockchain launch date without
        restrictions. 17
     19. In sum, approximately 2.9 billion Grams were sold in private placement in the first quarter
        of 2018. In this way, the Defendants allocated 58% of the total original supply of 5 billion
        Grams to investors in the private placement. The remaining 42% of the original supply is
        expected to be distributed as follows: 18
            a) 200 million Grams (4% of the original supply) is to be used as rewards to
                developers of the TON software with a four-year vesting period after the TON
                Blockchain launch date. The list of developers includes the Durovs. 19




14
   Form D, February 13, 2018, pp. 4, 6.
15
   Purchase Agreement for Grams (TG-001-00000022, 27—28). One quarter of the Grams sold in the first
round will be released from their lock-up 3 months after the TON Blockchain launch; another quarter, 6
months after launch; another quarter, 12 months after launch; and the remaining quarter, 18 months after
launch.
16
   Form D, March 29, 2018, pp. 4, 6.
17
   Purchase Agreement for Grams Stage A of the Subsequent Sale (TG-003-00000234).
18
   TON Technical White Paper distributed as Appendix A to the January 18, 2018 Primer (TG-001-
00000210). Fourth Supplemental Memorandum to the Staff the SEC, July 25, 2019, p. 1.
19
   Telegram Pre-Sale Primer, January 18, 2018 (TG-001-00000074).

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            b) 500 million Grams (10% of the original supply) is to be transferred to the
                “Incentives Pool” which sets aside part of the supply to reward certain participants
                in the TON Blockchain network. 20 The Incentives Pool is expected to be used to
                reward Messenger users for activating their TON Wallets — which would allow
                for payments using Grams — as well as encourage validators, storage providers
                and other service providers on the TON Blockchain.
            c) The remaining 1.4 billion Grams (28% of the original supply) is to be transferred
                to the TON Reserve, an account that can sell the Grams it holds into the market at
                the Reference Price or above. The number of Grams, n, in circulation excludes the
                Grams kept in the TON Reserve. 21
     20. At the time of the TON Blockchain launch, the total number of Grams in circulation is
        expected to be approximately 3.6 billion, given by the sum of the Grams sold in the private
        placement and the Grams to be transferred to the developers and the Incentives Pool
        (excluding the Grams kept in the TON Reserve). After the launch, the TON Reserve may
        sell Grams at a minimum price given by the Reference Price formula. The first Gram from
        the TON Reserve would be sold at approximately $3.62 (the Reference Price at launch) or
        above and every Gram sold thereafter will have an increasing minimum price (dictated by
        the Reference Price formula).
     21. Exhibit 2 and Exhibit 3 summarize the allocation of the original supply of Grams as well
        as the Reference Price and transaction prices for each of the sales or transfers of Grams
        described in this section.
          D. Market Price and the TON Reserve’s Ability to Buy and Sell Grams
     22. The market price of Grams will be given by demand and supply and need not be close to
        or correlated with the Reference Price, which is predetermined by the number of Grams, n,
        in circulation.



20
   Although these Grams may not all be distributed by the TON Blockchain launch date, it appears that
Grams transferred to the Incentives Pool are deemed in circulation. See TON Technical White Paper
distributed as Appendix A to the January 18, 2018 Primer (TG-001-00000210, A.4.6) and Fourth
Supplemental Memorandum to the Staff the SEC, July 25, 2019, p. 2 on Incentive Payments).
21
   TON Technical White Paper distributed as Appendix A to the January 18, 2018 (TG-001-00000210,
A.4.6)

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      23. The documents promoting the private placement state that if the market price of Grams
           increases above the Reference Price, p(n), the TON Reserve may, but is not required to,
           sell Grams at or above the Reference Price, increasing the total number of Grams in
           circulation, n. 22 Similarly, if the market price of Grams falls below half of the Reference
           Price, the TON Reserve may, but is not required to, buy Grams back and decrease n.
           Although later documents address the buyback price specifically, stating that the TON
           Reserve may buy back Grams at the TON Reserve “Maximum Purchase Price” or half of
           the Reference Price, the offering documents are not as precise. 23 The Technical White
           Paper, for example, discusses the buyback of Grams by the TON Reserve but does not limit
           the maximum buyback price to half of the reference price. More generally, neither the
           offering documents nor the Defendants’ memoranda to the SEC provide information as to
           the circumstances under which the TON Reserve will in fact exercise its discretion to buy
           or sell Grams.
      24. The stated purpose of the TON Reserve’s ability to buy and sell Grams is to prevent sudden
           spikes or falls in the market price. 24 However, the TON Reserve’s ability to buy and sell
           Grams is likely to have a limited effect on the market price of Grams, as discussed further
           herein.


     VI.    Gram Investors Received Large Discounts from the Expected Reference Price at
            Launch
      25. Telegram’s representations to potential and actual investors changed over time. Exhibit 4
           summarizes my understanding of certain representations from the documents I reviewed



22
   See for example the TON Technical White Paper distributed as Appendix A to the January 18, 2018
(TG-001-00000209—10)
23
   Telegram’s June 26, 2018 Memorandum to the Staff of the SEC provides more detail regarding the
functioning of the TON Reserve. It states that the responsibilities related to the TON Reserve will be
transferred to the TON Foundation, which is described as a not-for-profit organization “separate from
Telegram” (p. 13) but the Durovs are expected to be two of initial board members (Defendants’
Responses and Objections to Plaintiff’s First Set of Interrogatories, November 22, 2019, p. 24). For
simplicity, in the text of my report I do not differentiate between the TON Reserve and the TON
Foundation. Also, see the Supplemental Memorandum to the Staff of the SEC, November 20, 2018, p. 4.
24
  TON Technical White Paper distributed as Appendix A to the January 18, 2018 (TG-001-00000209—
10)

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          that were made available to investors prior to the two rounds of the offering. The first two
          columns represent what I understand as the most updated information available to investors
          prior to each of the two rounds of the offering. Exhibit 4 also includes a summary of the
          offering as of the date of this report (last column).
      26. Telegram’s January 17, 2018 Indication of Interest Letter (the “January Indication of
          Interest Letter”), which I understand was shared with investors prior to the first round of
          the offering, described plans for a “Pre-Sale” and a “Subsequent Sale” of Grams.
          According to the January Indication of Interest Letter, the Pre-Sale would offer a maximum
          of US$850 million worth of Grams and would close around February 9, 2018. According
          to the January Indication of Interest Letter, the Subsequent Sale would commence around
          March 20, 2018 and had an expected offering amount of $1.15 billion worth of Grams.
          Exhibit 4 shows a summary of the offering progress, Defendants’ descriptions to investors
          and reasonable investor expectations, based on those descriptions, at the time of the January
          Indication of Interest Letter, just before the start of the first round of the offering. Based on
          the January Indication of Interest Letter, a total of 3 billion Grams were expected to be sold
          over two rounds of sales, raising $2 billion.
      27. It appears from the documents I reviewed that by February 20, 2018, Telegram had closed
          the first round of the offering and was promoting its Subsequent Sale. At the time,
          Telegram expected the Subsequent Sale to be conducted in two stages: Stage A and Stage
          B. Telegram’s February 20, 2018 Indication of Interest Letter (the “February Indication of
          Interest Letter”) stated that TON Issuer anticipated “offering a subscription for a maximum
          of US$850 million worth of Grams in Stage A” and “offering subscriptions for a maximum
          of US$1.7 billion worth of Grams in the Subsequent Sale” — that is both Stage A and B. 25
          Exhibit 4 shows a summary of the offering progress and expectations at the time of the
          February Indication of Interest Letter. The first round of the offering had already closed,
          raising $850 million through the sale of 2.25 billion Grams (as shown in Panel A). At the
          time, it appears that Telegram expected to sell up to 3.3 billion Grams and raise a total of
          $2.6 billion in three rounds of offerings (as shown in Panel B).



25
     The February Indication of Interest Letter (TLGRM-007-00019093)

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     28. As of the date of this report, Telegram has completed two rounds of offering of $850
        million each, through the sale of 2.9 billion Grams as shown in the last column of both
        Panels A and B of Exhibit 4.
     29. Exhibit 4 also shows expected and actual prices for each of the rounds of the offering as
        well as the expected Reference Price at launch, using the Reference Price formula on Eq.
        1 above. The first round (or Pre-Sale) price was expected to be approximately $0.38 per
        Gram across the time period in Exhibit 4. The second round (or Stage A of the Subsequent
        Sale) was expected to be from approximately $1.33 to $1.45. The expected Reference Price
        at launch was approximately $4.23 on January 17, $5.34 on February 20, and $3.62 as of
        the date of this report, based on the amounts of Grams expected to be sold, or, in the case
        of the $3.62 reference price, based on the Grams actually sold so far.
     30. Investors in the first round of the offering expected to receive a discount of 91.1% from
        the expected Reference Price at launch, using the information in the January Indication of
        Interest Letter and the Reference Price formula in Eq. 1. Investors in the second round of
        the offering expected to receive a discount of 75.1% from the expected Reference Price at
        launch, using the information in the February Indication of Interest Letter and the
        Reference Price formula in Eq. 1.
     31. At the time of my report, investors in the first round of the offering can expect to receive a
        discount of 89.6% from the Reference Price at launch. At the time of my report, investors
        in the second round of the offering can expect to receive a discount of 63.3% from the
        Reference Price at launch.
     32. I have been asked to calculate the profits that Gram investors could expect to realize if the
        TON Reserve buys back Grams at its Maximum Purchase Price (half of the Reference
        Price) shortly after launch, assuming that the price of Grams falls and stays below half of
        the Reference Price. According to my calculations, first and second round investors would
        make a profit of $5,844,901 each, for a total of $11,689,801 in profits on their $1.7 billion
        investment. 26 The TON Reserve would need to spend $1.712 billion to purchase back all




26
  This calculation assumes that first and second round investors sell their Grams before Grams from the
Incentives Pool are sold back to the TON Reserve.

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            of the Grams it has sold in the offering, if it purchases them back at half of the applicable
            Reference Price.


     VII.    The TON Reserve’s Ability to Buy and Sell Grams Pursuant to the Reference Price
             Formula Is Not Enough to Guarantee Stability in the Market Price of Grams
               A) Limits to the TON Reserve’s Ability to Keep the Market Price from Increasing
      33. About 1.4 billion Grams, 28% of the original supply, is expected to be transferred to the
            TON Reserve. If the market price of Grams exceeds its Reference Price, the TON Reserve
            may sell Grams in an attempt to limit price volatility. However, the maximum number of
            Grams the TON Reserve can sell in the open market is limited to its holdings. Once the
            TON Reserve depletes its original allocation through sales, all 5 billion Grams will be in
            circulation and the Reference Price using the formula in Eq. 1 will be approximately $14.84
            per Gram, the “Maximum Reference Price.” 27 If the market price continues above the
            Maximum Reference Price of $14.84 the TON Reserve would have no ability to keep the
            market price below the Maximum Reference Price because it would no longer have any
            Grams to sell.
               B) Limits to the TON Reserve’s Ability to Keep the Market Price from Decreasing
      34. I have been asked to consider three alternative scenarios regarding the TON Reserve’s
            ability to purchase Grams from the open market;
               a) The remaining proceeds of the offering, about $1.4 billion, are available to support
                   the TON Reserve’s buying activities; 28




27
   For ease of discussion, the description of the limits to the TON Reserve’s ability to stabilize prices
ignores the expected 2% annual growth rate in the supply of Grams. See TON Technical White Paper
distributed as Appendix A to the January 18, 2018 (TG-001-00000208). The description above applies
exactly shortly after the TON Blockchain launch and applies, with small changes, after the supply of
Grams increases as validators in the TON Blockchain are paid with the issuance of new Grams. For
example, one year after the TON Blockchain launch the supply of Grams is expected to increase by an
average of 2% and the Maximum Reference Price is expected to increase to approximately $16.40. My
descriptions above similarly apply with a changing Maximum Reference Price that would be
approximately $16.40 one year after launch and increasing thereafter due to the expected 2% annual
growth rate in the supply of Grams.
28
   The source for the remaining offering proceeds is Telegram’s Second Supplemental Memorandum to
the Staff of the SEC, February 27, 2018 [sic], p. 6.

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            b) The TON Reserve can only buy Grams from proceeds it may realize from sales of
                Grams after the TON Blockchain launch date; 29
            c) The TON Reserve cannot buy back Grams from the open market. 30
     35. First, I consider an example in which the TON Reserve has access to the full $1.4 billion
        to support its buying activities. In the event that the market price falls below $1.81 or half
        of the Reference Price at launch, the TON Reserve has the discretion, but not the obligation,
        to buy back Grams from the market at up to half of the Reference Price, defined as the
        TON Reserve Maximum Purchase Price. If all of the second round purchasers (which have
        no lock-up period) sell back their 639 million Grams to the TON Reserve and the market
        price stays sufficiently low (below approximately $0.96 per Gram), the TON Reserve
        would spend approximately $856 million to buy back all of Grams from the second round
        purchasers if the TON Reserve purchased at half of the applicable Reference Price.
     36. Next, if three months after launch, all of the first round purchasers sell the 562.8 million
        Grams with a lock-up period of three months and the market price stays sufficiently low
        (below approximately $0.54 per Gram) the TON Reserve would spend approximately $412
        million in buybacks.
     37. If the market price is sufficiently low (below approximately $0.31 per Gram), a buyback
        similar to that explained above but for the first round Grams with a lock-up period ending
        six months after launch would require the TON Reserve to spend approximately $234
        million, which would exceed its remaining cash balance of around $132 million at this
        point. Thus, even in the most favorable scenario in which the TON Reserve has access to
        $1.4 billion for its buying activities, the TON Reserve may not be able to stabilize a price
        that is below approximately $0.31 per Gram.
     38. The second scenario, in which the TON Reserve can only buy Grams from proceeds it
        realized from previous sales of Grams, even more severely curtails any ability by the TON
        Reserve to stabilize a decreasing market price.

29
   Telegram’s Second Supplemental Memorandum to the Staff of the SEC, February 27, 2018 [sic], p. 10
states: “the ability of the TON Reserve to purchase Grams is dependent on it first selling Grams and using
the proceeds of such sales for any subsequent purchases.”
30
   Telegram’s Fourth Supplemental Memorandum to the Staff of the SEC, July 25, 2019, p. 1 and
Telegram’s Third Supplemental Memorandum to the Staff of the SEC, March 18, 201, p. 2 say that
Telegram is considering the removal of the TON Reserve’s buying function under certain conditions.

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     39. The third scenario, which eliminates the TON Reserve’s buying ability, completely does
        away with any ability to stabilize a decreasing market price.
            C) Market Price Simulations and Empirical Evidence on Other Cryptocurrencies
                Show that the TON Reserve’s Ability to Buy and Sell Grams is Likely Not Enough
                to Guarantee Market Price Stability
                    i.   Simulations of the Market Price of Grams
     40. Exhibits 5A, 5B, and 5C show simulations for the market price of Grams. In all of the
        simulations, the market price of Grams is assumed to follow a geometric random walk
        given by the following:
                                                              ௠ )
                                               ݈݊(ܲ௧௠ ) = ln(ܲ௧ିଵ + ߝ௧               (Eq. 2)
                                                           ௠
        where ܲ௧௠ is the market price of Grams at time t, ܲ௧ିଵ is the market price of Grams in the
        previous period, and ߝ௧ is a random variable that is normally distributed with a mean given
        E\DQGDVWDQGDUGGHYLDWLRQJLYHQE\ı. Geometric random walk models are commonly
        used in finance to study stock prices. 31

     41. For the purpose of Exhibits 5A, 5B, and 5C, I assume that ı, the standard deviation of the
        above defined ߝ௧ , is equal to 0.1. The VWDQGDUGGHYLDWLRQı, is a measure of volatility. A
        small standard deviation means that the random variable ߝ௧ is likely to be close to the mean,
        while a large standard deviation means that the random variable ߝ௧ is likely to be far from
        the mean.
     42. Exhibit 5A assumes that μ, the mean of ߝ௧ , is 0, which means that the market price of the
        Gram can be expected to increase or decrease with the same probability. Exhibit 5A shows
        that the market price following this geometric random walk is likely to stay within the
        bands set in between half of the Reference Price to the Maximum Reference Price. In this
        scenario, the market price would fall in between half of the Reference Price at launch and
        the Maximum Reference Price for some period of time as in Exhibit 5A, as a consequence
        of the μ — the mean of ߝ௧ — DVVXPHGWREHDQGı— the standard deviation of ߝ௧ —
        assumed to be small. As the time period gets longer though, the more likely the probability



31
 See for example, Campbell, Lo and MacKinlay, “The Econometrics of Financial Markets,” Princeton
University Press, 1997, pp. 11, 16, and 32.

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        that the random variable ߝ௧ would result in an outlier, either too low or too high, and the
        resulting price would fall outside of the bands.
     43. Exhibit 5B assumes that μ, the mean of ߝ௧ , is 0.02 which means that the random variable
        component has a positive trend representing an average period over period return of 2%.
        Exhibit 5B shows that the market price following this geometric random walk formula is
        likely to exceed the Maximum Reference Price of $14.84 per Gram, leaving the TON
        Reserve with no ability to stabilize the price down.
     44. Exhibit 5C assumes that μ, the mean of ߝ௧ , is -0.01 which means that the random variable
        component has a negative trend representing an average period over period return of -1%.
        Exhibit 5C shows that the market price following this geometric random walk formula is
        likely to approach $0 per Gram. As noted earlier, the TON Reserve’s ability to buy back
        Grams is limited by the funds it holds in US dollars. As described in the previous
        subsection, even if the TON Reserve had access to all of the remaining proceeds from the
        offering, its ability to purchase Grams would be limited. Exhibit 5C shows a situation in
        which the TON Reserve could not prevent a decreasing market price from falling.
                  ii.   Empirical Analysis of Cryptocurrencies
     45. An analysis of historical market prices for nine cryptocurrencies validates the parameter
        choices in the simulations described in Exhibits 5A, 5B, and 5C. I obtained daily prices for
        four of the top cryptocurrencies: Bitcoin, Ethereum, XRP, and Bitcoin Cash. 32 I also
        obtained daily prices for five of the biggest ICOs: EOS, Tezos, Paragon, Bancor, and
        Dragon Coin. 33 I estimated Eq. 2 for each of the cryptocurrencies using a linear regression
        model, a standard statistical technique used in financial econometrics.
     46. Exhibit 6 shows a summary of the results of my regressions. The estimated coefficient for
        the previous period’s cryptocurrency price (denoted as “Lag Price” in the table) is close to
        1, as assumed in Eq. 2. This means that today’s price is a good predictor of tomorrow’s

32
   CoinMarketCap was used to obtain the list of top cryptocurrencies by market capitalization. I excluded
Tether from my regression analysis because Tether claimed to be backed 100% by dollar reserves, until
around March 14, 2019. Until that date, Tether’s closing price is almost always equal or close to $1 and,
therefore, regressions, which try to explain the movements in a variable, are not meaningful. See Aaron
Hankin, “Tether Reverses Claim of 100% Dollar Backing, Sparking Criticism,” Marketwatch, March 14,
2019.
33
   Kharif, Olga, “How’s that ICO Working Out? Breaking Down the Biggest ICOs from the Past Few
Years,” Bloomberg Businessweek, December 14, 2018.

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        price. The estimated constant in the regressions in Exhibit 6 (denoted by “Constant” in the
        table) is an estimate of the daily expected return for cryptocurrencies, that is an estimate of
        μ from the simulated models above. Exhibit 6 shows that the estimated daily returns for
        the nine cryptocurrencies analyzed ranges from -4.81% to 2.68%, which is a wider range
        than the -1% to 2% assumed in the simulations.
     47. There are two reasons that Exhibit 6 likely underestimates the range in the expected daily
        return for the TON Blockchain, especially in the first few days after launch. The first reason
        is that many cryptocurrency projects do not survive. A Boston College study estimated the
        survival rate of cryptocurrency firms after 120 days from the end of their ICO at 44.2%.34
        By design, an analysis of historical prices as shown in Exhibit 6 only includes ICOs that
        raise capital and list on an exchange. In addition, all cryptocurrencies in Exhibit 6 are
        currently active. The same Boston College study finds that 16% of cryptocurrencies that
        raise capital and list on an exchange become inactive by the fifth month.
     48. The second reason that Exhibit 6 likely underestimates the range in the expected daily
        return for the TON Blockchain is that Exhibit 6 uses all of the available historical data.
        Some of the cryptocurrencies in Exhibit 6 are well established and have been around for
        many years. Exhibit 7 shows a similar analysis to that on Exhibit 6 but limits the time
        period for each regression to the first 100 days with available data. Exhibit 7 shows that
        the daily expected return, the estimate of the constant, ranges from -29.9% to 55.8%.
     49. Exhibit 8 and Exhibit 9 show historical prices for Bitcoin and Dragon, two of the nine
        cryptocurrencies included in Exhibit 6. Exhibit 8 shows that Bitcoin prices have shot
        upward towards the middle of December 2017 and again, to a lesser extent, in June 2019;
        Exhibit 9 shows that the price of Dragon Coin has dropped from $2.21 to close to $0.
     50. The historical prices for both Bitcoin and Dragon Coin are extremely volatile. As a way of
        comparison, Bitcoin’s annual volatility is 6.1 times the volatility of the S&P 500, 3.5 times
        the volatility of Apple Inc., and 1.7 times the volatility of Tesla. 35 Similarly, Dragon’s




34
   Benedetti, Hugo and Leonard Kostovetsky, “Digital Tulips? Returns to Investors in Initial Coin
Offerings,” Working Paper, May 20, 2018.
35
   The volatility was calculated using data from January 1, 2010, or the earliest data available, until
December 11, 2019.

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   annual volatility is 19.8 times the volatility of the S&P 500, 11.4 times the volatility of
   Apple Inc., and 5.5 times the volatility of Tesla.
51. Even if the TON Blockchain is, as Defendants claim, in some ways different from other
   cryptocurrencies, the market forces of supply and demand that affect the prices of other
   cryptocurrencies are likely to also affect the market price of the Gram. As my analysis
   shows, the Gram’s market price could: a) stay within bands set by half of the Reference
   Price and the Maximum Reference Price or b) rise above the Maximum Reference Price or
   fall below half the Reference Price. The TON Reserve cannot guarantee to keep the market
   price between these bands. From a financial economics point of view and based on my
   understanding of the documents I reviewed, there is nothing unique about the Gram or the
   TON Reserve that would guarantee the market price of Grams to be stable.




                                       Page 16 of 16
                                  Exhibit 1: Reference Price for n-th Gram in Circulation (Sequential Sales)



                        $15                                                                               Maximum Reference Price: $14.84
                                                                                                          Maximum Supply: 5 Billion Grams



                        $12




                         $9




Reference Price, p(n)
                         $6




                         $3




                         $0
                              0                     1                       2                        3                        4               5

                                                                          # Grams (in Billions), n
                          Note: For ease of exposition, my exhibits ignore the expected annual growth rate of 2% in the supply of Grams.
                          Source: TON Technical White Paper distributed as Appendix A to the January 18, 2018 Primer (TG-001-00000208—209).
Exhibit 2: Private Placement and Allocation of Grams Through TON Blockchain Launch
                                                                  # of Grams Under              Total $ Value
                                        Price per Gram              Subscription                   Raised
First Round of Private Placement           $0.37756101                    2,251,291,799           $850,000,000
Second Round of Private Placement          $1.33003701                      639,079,959           $850,000,000
Total in Private Placement                                                2,890,371,758         $1,700,000,000

                                                             # of Grams to be Transferred
Incentives Pool                                                              500,000,000
Developer Pool                                                               200,000,000
TON Reserve                                                                1,409,628,242

                                        Reference Price        # of Grams in Circulation
At TON Blockchain Launch                  $3.62475487                      3,590,371,758
Note:
The number of Grams in circulation does not include the Grams held by the TON Reserve.
Sources:
Purchase Agreement for Grams (TG-001-00000022); Purchase Agreement for Grams Stage A of the Subsequent Sale
(TG-003-00000234); TON Technical White Paper distributed as Appendix A to the January 18, 2018 Primer (TG-001-
00000207—211); Telegram’s Second Supplemental Memorandum to the Staff of the SEC, February 27, 2018 [sic ], p. 2-
3.
            Exhibit 3: Price per Gram and Reference Price for n-th Gram in Circulation

                                                                       Developer &                   Post-Launch
                        Round 1                       Round 2           Incentives          (Assuming TON Reserve Sells
                                                                          Pools                its Grams to the Market)
  $14.84




Price
                                                                                Launch


    $3.62



    $1.33
    $0.38
                                               2.25             2.89                 3.59                                 5.00
                                           # Grams (in Billions), n
                                    Price Per Gram          Reference Price, p(n)
                     Exhibit 4: Timeline of the Offering and Expectations

                                                             Prior to 1st       Prior to 2nd      At the Time of
                                                               Round               Round           my Report
                                                             1/17/2018           2/20/2018         12/20/2019

Panel A: Timeline of the Offering
      Dollars Raised So Far                                       0             $850 million       $1.7 billion
      Grams Sold So Far                                           0              2.3 billion       2.9 billion
      Sale Rounds Completed                                       0                   1                 2
Panel B: Timeline of Expectations
      Expectation for Total Dollars Raised in the Offering   $2.0 billion       $2.6 billion*      $1.7 billion
      Expectation for Grams Sold in the Offering             3.0 billion        3.3 billion*       2.9 billion
      # Sale Rounds Expected                                      2                   3                 2
         Expected Pricing Details
         First Round Price                                   $0.37756101        $0.37756101       $0.37756101
         Second Round Price                                  $1.44976750       $1.33003701        $1.33003701
         Third Round Price                                       none          $2.19767164*           none
         Reference Price at Launch                           $4.22888069       $5.33644467*       $3.62475487
         Expected Discounts from Reference Price at Launch
         First Round Discount                                         91.1%            92.9%              89.6%
         Second Round Discount                                        65.7%            75.1%              63.3%


Notes:
The figures under 2/20/2018 marked with an * assume that the maximum of $1.7 billion is raised in the
Subsequent Sale, as described in the February Indication of Interest Letter for Stage A of the Subsequent Sale.
The above calculations include the 700 million Grams to be transferred to the Developer and Incentive Pools, as
specified in the offering documents.
Sources:
January Indication of Interest Letter (KPCB-0000623), February Indication of Interest Letter for Stage A of the
Subsequent Sale (TLGRM-007-00019093), and Telegram's Fourth Supplemental Memorandum to the Staff of the
SEC, July 25, 2019.
                                          Exhibit 5A: Simulated Market Price (μ=0)
$20.00




 $14.84




Price
   $3.62

   $1.81

  $0.00
           0                         20                        40                 60                                80                        100
                                                                # Days After Launch
                                      Market Price               Reference Price at Launch                  Bands
    Note: The top band is the Maximum Reference Price, $14.84, and the bottom band is half of the Reference Price at launch, $1.81. The bands may
    shift in time if the TON Reserve buys or sells Grams.
                                       Exhibit 5B: Simulated Market Price (μ=0.02)
$50.00




Price
$25.00



  $14.84




   $3.62
   $1.81
   $0.00
           0                        20                         40                 60                                80                        100
                                                                # Days After Launch
                                      Market Price               Reference Price at Launch                  Bands
        Note: The top band is the Maximum Reference Price, $14.84, and the bottom band is half of the Reference Price at launch, $1.81. The bands may
        shift in time if the TON Reserve buys or sells Grams.
                                         Exhibit 5C: Simulated Market Price (μ= -0.01)
$20.00




 $14.84




Price
   $3.62

   $1.81

  $0.00
              0                         20                        40                 60                                80                        100
                                                                   # Days After Launch
                                         Market Price               Reference Price at Launch                  Bands

        Note: The top band is the Maximum Reference Price, $14.84, and the bottom band is half of the Reference Price at launch, $1.81. The bands may
        shift in time if the TON Reserve buys or sells Grams.
                                                   Exhibit 6: Estimation of Daily Cryptocurrency Prices
                                                             Data for Full Period of Availability

                                                                                Bitcoin                                                                         Dragon
                                Bitcoin        Ethereum          XRP                             EOS            Tezos          Paragon          Bancor
                                                                                 Cash                                                                           Coins
                                  (1)             (2)             (3)             (4)             (5)             (6)             (7)             (8)             (9)
Lag Price                      0.999***        0.999***        0.999***        0.995***        0.993***        0.995***        0.983***       0.994***        0.981***
                              (0.000342)      (0.000865)      (0.000773)       (0.00341)       (0.00359)       (0.00367)       (0.00652)      (0.00272)       (0.00599)
Constant                      0.0109***         0.00748       -0.000784         0.0268          0.0114*         0.00194       -0.0461**        -0.00305       -0.0481***
                              (0.00220)        (0.00396)      (0.00293)        (0.0211)        (0.00577)       (0.00304)       (0.0169)       (0.00268)        (0.0141)

Number of Observations           3138            1587            2320             871             893            800              776             906            631
Start Date                     7/19/2010        8/7/2015       8/4/2013       7/23/2017        7/1/2017       10/2/2017       10/26/2017      6/18/2017       3/20/2018
Adjusted R-Squared               1.000           0.999           0.999           0.990           0.988          0.989            0.967           0.993          0.977
Root Mean Squared Error         0.0561          0.0717          0.0729          0.0800          0.0833         0.0756            0.180          0.0774          0.136

Notes:
The regression estimates the natural logarithm of the price on the natural logarithm of the prior day's price. The estimation period for each of the cryptocurrencies
starts on the date listed above and ends December 11, 2019.

The adjusted R-Squared is a statistical measure that represents the portion of the variability in the dependent variable (cryptocurrency price) that is explained by the
regression model. An adjusted R-Squared close to 1, as in the table, means that almost all of the variability in the cryptocurrency price can be explained by the price in
the previous period. The root mean squared error is a statistical measure of the difference between the values predicted by the regression model and the observed
YDOXHVIRUFU\SWRFXUUHQF\SULFHV,WLVDQHVWLPDWHRIWKHVWDQGDUGGHYLDWLRQıDVGHILQHGLQWKHWH[WRIP\UHSRUW7KHURRWPHDQVTXDUHGHUURUIURPP\UHJUHVVLRQV
ranges from 0.056 to 0.180, which confirms that a standard deviation of 0.1, as assumed in my simulations, is a reasonable parameter choice.
Standard errors in parentheses;                 * p<0.05        ** p<0.01      *** p<0.001
Sources:
Data is from CoinMarketCap with the exception of Bitcoin data prior to April 28, 2013, which was not available on CoinMarketCap and was obtained from Bloomberg
Financial, L.P.
                                                   Exhibit 7: Estimation of Daily Cryptocurrency Prices
                                                                   First 100 Days of Data

                                                                               Bitcoin                                                                        Dragon
                               Bitcoin        Ethereum          XRP                             EOS            Tezos          Paragon         Bancor
                                                                                Cash                                                                          Coins
                                  (1)             (2)            (3)             (4)             (5)             (6)             (7)             (8)            (9)
Lag Price                      0.989***       0.831***        0.939***        0.908***        0.971***        0.976***        0.886***       0.833***        0.990***
                               (0.0190)       (0.0456)        (0.0358)        (0.0425)        (0.0288)        (0.0245)        (0.0450)       (0.0345)        (0.0174)
Constant                       -0.0161          -0.0278         -0.299         0.558*         0.000303         0.0335          -0.111*       0.140***        -0.0337*
                               (0.0456)        (0.0164)        (0.178)         (0.256)        (0.0156)        (0.0266)        (0.0439)       (0.0371)        (0.0149)

Number of Observations           100             100             100             100             100            100             100             100             100
Start Date                     7/19/2010        8/7/2015      8/4/2013        7/23/2017       7/1/2017       10/2/2017      10/26/2017       6/18/2017       3/20/2018
Adjusted R-Squared              0.965           0.770           0.874           0.822           0.920          0.941           0.796           0.855           0.970
Root Mean Squared Error         0.112           0.158           0.110           0.118           0.144          0.114           0.153           0.161           0.117

Notes:
The regression estimates the natural logarithm of the price on the natural logarithm of the prior day's price. The estimation period for each of the cryptocurrencies
starts on the date listed above and ends 100 days after.
Standard errors in parentheses;                * p<0.05       ** p<0.01      *** p<0.001
Sources:
Data is from CoinMarketCap with the exception of Bitcoin data prior to April 28, 2013, which was not available on CoinMarketCap and was obtained from Bloomberg
Financial, L.P.
                                                Exhibit 8: Bitcoin's Closing Price
$20,000


$18,000


$16,000


$14,000


$12,000


$10,000


 $8,000


 $6,000


 $4,000


 $2,000


    $0




   Source: Data prior to April 28, 2013 is from Bloomberg Financial, L.P. Data from April 28, 2013 onward is from CoinMarketCap.
                           Exhibit 9: Dragon Coin's Closing Price
$2.50




$2.00




$1.50




$1.00




$0.50




$0.00




  Source: CoinMarketCap.
                                        Appendix A: Resume

                                CARMEN A. TAVERAS, Ph.D.
   (202) 551-4705 ʀ100 F St. NE, Room 4854, Washington DC 20549 ʀtaverasalamc@sec.gov



EDUCATION
MASSACHUSETTS INSTITUTE OF TECHNOLOGY                                                 Cambridge, MA
Ph.D. in Economics                                                                 Sep. 2004-Sep. 2010
Dissertation Title: “Essays on Entrepreneurship.” Used survey data on the portfolios of U.S. families to
study the tightness of borrowing constraints for entrepreneurs.
PONTIFICIA UNIVERSIDAD CATÓLICA                                                       Santiago, Chile
Postgraduate Diploma in Macroeconomics, Highest Honors                             June 2002-July 2004
PONTIFICIA UNIVERSIDAD CATÓLICA MADRE Y MAESTRA                     Sto. Dgo., Dominican Republic
BA in Economics, Summa Cum Laude                                                Sep. 1998-June 2002


CURRENT POSITION
SECURITIES AND EXCHANGE COMMISSION (S.E.C.)                                         Washington, DC
Financial Economist                                                                 July 2014-Present
Review economic research, collect financial data, perform statistical analysis, prepare written reports,
and provide summary and expert witness testimony on the economics of potential securities law
violations under investigation by the Commission. Experience includes:
x Analysis of trading and calculation of ill-gotten gains from insider trading and other fraudulent
    trading practices;
x Analysis of trading to detect patterns of market manipulation like spoofing and layering;
x Analysis of preferential trade allocation schemes, or cherry-picking, carried out by investment
    advisors;
x Analysis of trading and valuation of mutual funds and exchange-traded funds that mislead
    investors about their performance;
x Use of event studies to measure share price inflation and corporate benefits.


PRIOR POSITIONS
SECURITIES LITIGATION AND CONSULTING GROUP, INC (S.L.C.G.)                                Fairfax, VA
Principal                                                                         Aug. 2010-June 2014
Analyzed securities and prepared expert reports for arbitration and litigation. Coauthored reports in
consulting engagements for securities regulators and industry groups. Experience included:
x Annuities, auction rate securities, closed-end funds, collateralized debt obligations, common stock,
   debt securities, direct participation programs, hedge funds, mutual funds, preferred stock, real
   estate investment trusts, and tenants-in-common securities.
x Valuation of privately-held businesses as well as mergers and acquisitions due diligence review.


                                       Appendix A: Page 1 of 3
MASSACHUSETTS INSTITUTE OF TECHNOLOGY                                    Cambridge, MA
Teaching Assistant                                                     Sep. 2006-May 2010
Taught graduate and undergraduate courses in Macroeconomics, Introductory Economics, and
Research and Communications in Economics.
Research Assistant to Professor Esther Duflo                          June 2005-Aug. 2005
International Monetary Fund                                                         Washington, DC
Summer Research Assistant                                                         June 2006-Aug. 2006
Ministry of Finance and Economics                                   Sto. Dgo., Dominican Republic
Research Assistant to Chief Economic Advisors                                   June 2001-June 2002


EXPERT AND SUMMARY WITNESS WORK
x Expert witness in In the Matter of Christopher M. Gibson, S.E.C. Administrative Proceeding (July 2019
  and September 2016). Report, rebuttal report, direct and cross-examination at trial on a front-
  running case.
x Summary witness in U.S. v. David Blaszczak et al., U.S. District Court for the Southern District of
  New York (April 2018). Summary witness exhibits and direct and cross-examination at trial on an
  insider trading case.
x Expert and summary witness in S.E.C. v. Sasan Sabrdaran and Farhang Afsarpour; U.S. District Court
  Northern District of California San Francisco Division (November 2016). Rebuttal and
  supplemental reports and direct and cross-examination at trial on an insider trading case.
x Expert witness in S.E.C. v. James V. Mazzo et al.; U.S. District Court Central District of California
  Southern Division (June 2015). Rebuttal expert report and deposition evaluating the statistical
  analysis performed by the defense expert on an insider trading case.
x Summary witness declaration in S.E.C. v. Kristine L. Johnson et al.; U.S. District Court, District of
  Colorado (February 2015). Summarized information regarding investment in a Ponzi scheme.
x Summary witness declaration in S.E.C. v. Samuel E. Wyly et al.; U.S. District Court, Southern
  District of New York (November 2014). Summarized disclosure/non-disclosure of defendants’
  offshore option exercises.
x Expert witness in Gerald and Barbara Galowitz v. Ameriprise Financial Services, Inc., FINRA arbitration
  (May 2013). Direct and cross-examination on behalf of the plaintiffs on asset allocation of annuity
  investments and damages.


FINANCIAL RESEARCH
x “Large Sample Valuation of Tenancies in Common” with Tim Husson, Craig McCann and
   Edward O’Neal (2014), Journal of Real Estate Portfolio Management, Vol. 20, No. 2, pp. 147-161.
x “Private Placement Real Estate Valuation” with Tim Husson, Craig McCann and Edward O’Neal
   (2014), Journal of Business Valuation and Economic Loss Analysis, Vol. 9, Issue 1, pp. 87-104.
x “What is a TIC Worth?” with Tim Husson, Craig McCann and Edward O’Neal (2012), PIABA
   Bar Journal, Vol. 19. No. 3, pp. 373-392.
x “A Primer on Non-Traded REITs and Other Alternative Real Estate Investments” with Tim
   Husson and Craig McCann.



                                        Appendix A: Page 2 of 3
x   “Rethinking the Comparable Companies Valuation Method” with Paul Godek, Craig McCann,
    and Dan Simundza.
x   “A Monograph on Auction Rate Securities” with Jenny Li and Craig McCann, written for the
    Securities Division of the North Carolina Secretary of State.
x   “An Economic Study of Securities Market Data Pricing by Canadian Trading Venues” with Craig
    McCann, written for the Investment Industry Association of Canada.


PROFESSIONAL PROGRAMS
Level II Candidate in the Chartered Financial Analyst (CFA) Program and the Financial Risk
Manager (FRM) Program.


AWARDS AND FELLOWSHIPS
x   Graduate Student Fellowship—Massachusetts Institute of Technology                  2004-2010
x   Inter-American Development Bank Fellowship—Pontificia Universidad Católica         2002-2004
x   Fundapec Fellowship – Pontificia Universidad Católica Madre y Maestra              1998-2002
x   National Youth Prize – Ministry of Youth, Dominican Republic                       1997


SOFTWARE SKILLS AND FINANCIAL DATA
Stata, Matlab, Bloomberg, Wharton Research Data Services


LANGUAGES
English (fluent), Spanish (native), French (intermediate)




                                      Appendix A: Page 3 of 3
                            Appendix B: Documents Relied Upon



Case Filings

SEC v. Telegram and TON Issuer, Complaint, October 11, 2019.



Telegram and TON Issuer Filings with the SEC

Form D, Notice of Exempt Offering of Securities, February 13, 2018.

Form D, Notice of Exempt Offering of Securities, March 29, 2018.



Defendants Promotional Material and Other Documents Produced to Investors

TON, Two Page Teaser, sent to investors in January 2018 (TG-005-00015040—41).

TON, Four Page Teaser, sent to investors in November 2017 (TLGRM-006-00000101—104).

Telegram Primer, sent to investors in December 2017 (TLGRM-010-00000513—535).

Telegram Pre-Sale Primer, January 18, 2018 (TG-001-00000054—79).

Telegram Stage A Primer, February 21, 2018 (TLGRM-008-00005149—74).

TON Technical White Paper distributed as Appendix A to the January 18, 2018 Primer (TG-001-
00000080—211).

Purchase Agreement for Grams (TG-001-00000014—53).

Purchase Agreement for Grams Stage A of the Subsequent Sale (TG-003-00000223—251).

Telegram Indication of Interest Letter, January 17, 2018 (KPCB-0000623—28).

Telegram Indication of Interest Letter, February 20, 2018 (TLGRM-007-00019093—99).



Telegram Memoranda and Responses to the SEC

Defendants’ Responses and Objections to Plaintiff’s First Set of Interrogatories, November 22,
2019.

                                     Appendix B: Page 1 of 2
              Appendix B: Documents Relied Upon by Carmen A. Taveras, Ph.D.


Telegram Memorandum to the Staff of the SEC, June 26, 2018.

Telegram Supplemental Memorandum to the Staff of the SEC, November 20, 2018.

Telegram Second Supplemental Memorandum to the Staff of the SEC, February 27, 2018 [sic].

Telegram Third Supplemental Memorandum to the Staff of the SEC, March 18, 2019.

Telegram Fourth Supplemental Memorandum to the Staff of the SEC, July 25, 2019.



Messenger Website

Messenger FAQ: https://telegram.org/faq#q-what-is-telegram-what-do-i-do-here, accessed
December 9, 2019.



Textbook, Academic Papers, and Financial Press

Benedetti, Hugo and Leonard Kostovetsky, “Digital Tulips? Returns to Investors in Initial Coin
Offerings,” Working Paper, May 20, 2018.

Campbell, John, Andrew Lo and A. Craig MacKinlay, “The Econometrics of Financial
Markets,” Princeton University Press, 1997.

Hankin, Aaron, “Tether Reverses Claim of 100% Dollar Backing, Sparking Criticism,”
Marketwatch, March 14, 2019.

Kharif, Olga, “How’s that ICO Working Out? Breaking Down the Biggest ICOs from the Past
Few Years,” Bloomberg Businessweek, December 14, 2018.




                                    Appendix B: Page 2 of 2
